              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                      Plaintiff,
 v.                                                Case No. 96-CR-04-1-JPS-JPS

 JERRY WALKER,
                                                                  ORDER
                      Defendant.


       This criminal prosecution was assigned to the late Judge Rudolph T.

Randa back in 1996, when the indictment was filed. It was not reassigned

to this branch of the Court until twenty-one years later, in May 2017. The

reassignment came in light of a letter from Defendant, requesting that the

remainder of the fine imposed in his case be vacated. (Docket #588). As

reasons therefor, Defendant cited his life sentence, consistent payments,

and rehabilitative efforts. Id. In consultation with the U.S. Probation

Department and the government, the Court concluded that it had no

authority to grant Defendant the relief he requested. (Docket #589).

Admittedly, the Court did not otherwise engage in a detailed review of the

decades-old docket, wherein most of the relevant documents are not

available in electronic format.

       The Court heard nothing further on this case until the evening of

August 28, 2017. At that time, it received notice from the Court of Appeals

that Defendant had filed a petition for a writ of mandamus against the

Court. Defendant’s petition states that in 1998, the Court of Appeals vacated

Count One of his sentence, but when the mandate issued and the case

returned to the district court, nothing was done to memorialize this fact; no




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amended judgment was issued to reflect the Court of Appeals’ order.

Defendant’s petition seeks an amended judgment which eliminates the

conviction and sentence for Count One in its entirety. In particular, the fine

Defendant complained of in his May 2017 letter was imposed only as to

Count One, meaning that it should have been vacated long ago and no

funds should have been collected towards the payment thereof. On

September 27, 2017, Defendant filed a motion with this Court requesting

the same relief. (Docket #590).

       The Court will now grant Defendant’s motion and act to correct this

long-standing error.1 It will issue an amendment to the judgment and

commitment order of April 4, 1997, (Docket #322), reflecting the dismissal

of Count One by the Court of Appeals on October 19, 1998, (Docket #412).

See 18 U.S.C. § 3572(c)(3). This amended judgment shall be nunc pro tunc to

October 19, 1998. The Court will further order that the Clerk of the Court

refund to Defendant any amounts which were collected pursuant to his

financial obligations under the Count One sentence, namely his special

assessment and fine. The Court also notes that no additional funds are

required to be paid by Defendant as to Count One’s sentence, so that if any

are received in the interim between the date of the amended judgment and



       1 Blame for this oversight cannot be laid entirely at the district court’s feet.
The Court of Appeals’ order did not remand the case for resentencing, but instead
merely vacated the sentence imposed as to Count One. (Docket #412). This action
did not comport with the Court of Appeals’ duty upon disposition of the appeal.
see 18 U.S.C. § 3742(f)(1) (“If the court of appeals determines that--(1) the sentence
was imposed in violation of law . . ., the court shall remand the case for further
sentencing proceedings with such instructions as the court considers
appropriate[.]”) (emphasis added). Had the statute been followed, Judge Randa
could have simply re-imposed the fine as to the remaining counts. At this late
stage, however, the Court finds it more appropriate to eliminate the fine entirely.


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the issuance of the refund check (a period that may comprise some days or

weeks), those funds will likewise be returned.

      Accordingly,

      IT IS ORDERED that Defendant’s motion to amend the judgment

(Docket #590) be and the same is hereby GRANTED;

      IT IS FURTHER ORDERED that an amendment to Defendant’s

judgment and commitment order (Docket #322) shall issue in accordance

with the terms of this Order; and

      IT IS FURTHER ORDERED that the Clerk of the Court shall remit

payment to Defendant all amounts he has paid toward the financial

obligations imposed as to the offense of conviction in Count One as a refund

of those improperly collected amounts.

      Dated at Milwaukee, Wisconsin, this 18th day of October, 2017.

                                    BY THE COURT:



                                    ____________________________________
                                    J. P. Stadtmueller
                                    U.S. District Judge




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